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                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

   IN RE:                                        :       CASE NO. 20-60681-JWC
                                                 :
   JOHN JOSEPH OLIGA,                            :       CHAPTER 7
   JEANINE BARKER OLIGA,                         :
                                                 :
                 Debtors.                        :


                                      REPORT OF SALE
            COMES NOW S. Gregory Hays, the Chapter 7 Trustee in the above-captioned

   matter, and files this Report of Sale pursuant to Bankruptcy Rule 6004(f), and shows the

   Court as follows:

                                                 1.

            By Order entered on July 14, 2022 [Doc. No. 78], this Court authorized the

   Trustee to sell by public auction two real properties known generally as (a) 2471 Saint

   Patrick Street, SE, Atlanta, DeKalb County, Georgia 30317 (“Saint Patrick”); and (b)

   2475 East Tupelo Street, SE, Atlanta, DeKalb County, Georgia 30317 (the “East

   Tupelo”).

                                                 2.

            At the public auction, the high bid for Saint Patrick was $39,750 and the high bid

   for East Tupelo was $39,750.

                                                 3.

            On September 1, 2022, the Trustee closed on the sale of Saint Patrick to We Buy

   and Resell Homes, LLC for $39,750. Attached hereto as Exhibit “A” is the Seller’s

   Settlement Statement from the sale.
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                                                  4.

          Also on September 1, 2022, the Trustee sold East Tupelo also to We Buy and

   Resell Homes, LLC (“Purchaser”) for $39,750. Attached hereto as Exhibit “B” is the

   Seller’s Settlement Statement from the sale.

                                                  5.

          The Trustee reports that he has completed the delivery of the Saint Patrick and

   East Tupelo properties to the Purchaser and has received net funds of $38,303.86 and

   $38,540.50 respectively from the sales after payment of 2022 property taxes.

          Respectfully submitted this 6th day of September, 2022.

                                                       /s/ S. Gregory Hays
                                                       S. Gregory Hays
   Hays Financial Consulting, LLC                      Chapter 7 Trustee
   2964 Peachtree Road, N.W., Suite 555
   Atlanta, Georgia 30305
   (404) 926-0060
   ghays@haysconsulting.net
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                                  Exhibit “A”
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                                  Exhibit “B”
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                                 CERTIFICATE OF SERVICE

          I, S. Gregory Hays, certify that I am over the age of 18 and that on this date, I
   served a copy of the foregoing Report of Sale by first class U.S. Mail, with adequate
   postage prepaid on the following persons or entities at the addresses stated and upon all
   the following persona or entities at the addresses stated:

           Office of the United States Trustee
           362 Richard B. Russell Building
           75 Ted Turner Drive, SW
           Atlanta, GA 30303

           Will B. Geer,
           Wiggam & Geer, LLC
           Suite 1150
           50 Hurt Plaza SE
           Atlanta, GA 30303

           John Joseph Oliga
           265 Stoneleigh Dr SW
           Atlanta, GA 30331-7665

           Jeanine Barker Oliga
           265 Stoneleigh Dr SW
           Atlanta, GA 30331-7665

          This 6th day of September, 2022.

                                                          /s S. Gregory Hays
                                                         S. Gregory Hays
                                                         Chapter 7 Trustee

   Hays Financial Consulting, LLC
   2964 Peachtree Road, NW, Ste 555
   Atlanta, Georgia 30305
   (404) 926-0060
